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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                    :
                                                :
              v.                                :   CRIMINAL NUMBERS:
                                                :
    KELLY MEGGS, and                            :   22-cr-15-APM-2
    CONNIE MEGGS,                               :   21-cr-28-APM-9
                                                :
            Defendants.                         :

                    GOVERNMENT’S OPPOSITION TO DEFENDANTS’
                   MOTION TO EXCLUDE MARITAL COMMUNICATIONS

        The messages that Defendant Kelly Meggs sent to his adult family members (including his

wife and co-conspirator Connie Meggs) on the night of November 3, 2020, about Speaker of the

House Nancy Pelosi should not be excluded. The motion in limine filed by Kelly Meggs (Rhodes

ECF No. 221) and Connie Meggs (Crowl ECF No. 719) should be denied.

                                FACTUAL BACKGROUND

        Pursuant to a search warrant, the FBI recovered and searched Defendant Kelly Meggs’

iPhone. The extraction from the iPhone shows that, on the night of Tuesday, November 3, 2020

(election night), at 7:54 PM EST,1 Kelly Meggs wrote two messages to a group text chain called

“Family chat” containing his wife (and co-conspirator) Connie Meggs and his then-21-year-old

son Zack Meggs, stating, “I’m gonna go on a killing spree,” and then 10 seconds later, “Pelosi

first.” Connie Meggs replied one minute later, “Shut the fuck Up[.] Your getting me stressed.”




1
  The time on the messages is “UTC +0,” which at this time of the year is five hours ahead of
Eastern Standard Time. Thus a timestamp of 11/4/20 at 12:54 AM UTC corresponds to a true time
of 11/3/20 at 7:54 PM EST.
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Immediately preceding Kelly Meggs’ messages, Connie Meggs had written, “Trump wins

Kentucky I’m so nervous.”

         According to the extraction from Kelly Meggs’ iPhone, he and Connie Meggs had a

message thread with just the two of them that contained over 5,000 messages. The messages in

question were not sent to the private thread. Rather, they were sent to the group thread “Family

Chat.”

         Kelly and Connie Meggs’ adult daughter Danielle started the thread in question on October

3, 2020. At the time, the thread was unnamed. The members of the thread were Kelly Meggs,

Connie Meggs, Danielle Meggs, and Zack Meggs. Danielle removed herself from the thread on

the morning of October 30, leaving her parents and brother as the remaining members. On the

afternoon of October 30, however, Kelly Meggs added Danielle back to the thread and provided

the previously unnamed thread with the name of “Family chat.” At the same time, Kelly Meggs

wrote to the thread: “I added Danielle back in and renamed the chat.”

         On November 1—two days later—Danielle again removed herself from the thread, leaving

her parents and brother as the remaining members. Each of these three individuals sent at least

one message to this thread over the next three days.

         On the night of November 3, Kelly Meggs sent the messages in question to the “Family

chat” thread. The text chain contains messages from Zack Meggs just before and after the

messages in question. At 6:54 PM EST (approximately one hour prior to the messages in

question), Zack Meggs sent a message about USF banning a club; one minute later Kelly Meggs

sent a message with a laughing/crying face emoji; and finally, sixteen minutes later Connie Meggs

wrote, “Haha.”


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       Then, at 8:01 PM EST (approximately 7 minutes after the messages in question), Connie

Meggs wrote to the thread, “But still to many people voted for Biden wtf is wrong with people I

hate them.” Five minutes later, Kelly Meggs wrote, “Trump now has the lead in Florida. The red

counties just poured in and that includes Tallahassee. So we are good.” Finally, six minutes after

that, Zack Meggs wrote, “You guys are so behind wtf.”

                                          ARGUMENT

       The messages from Kelly Meggs to Connie Meggs and Zack Meggs should not be

excluded, for three reasons. First, the messages were not privileged, because they were not made

in the confidence of a marriage. Second, even if any privilege did exist, it is voided by the crime-

fraud exception. Finally, the messages should not be excluded under Federal Rule of Evidence

403.

I.     LEGAL STANDARD

       There are two types of marital privileges. First, the “confidential marital communications

privilege” “protects from disclosure private communications between the spouses in the

confidence of the marital relationship.” S.E.C. v. Lavin, 111 F.3d 921, 925 (D.C. Cir. 1997)

Second, the “adverse spousal testimony privilege” provides that one spouse can neither be

compelled nor foreclosed from testifying against the other. Id. Here, only the confidential

communications privilege is implicated.

       The confidential marital communications privilege has four prerequisites: “(1) there must

have been a communication, (2) there must have been a valid marriage at the time of the

communication, (3) the communication must have been made in confidence, and (4) the privilege

must not have been waived.” Id. The privilege is “narrowly construed.” See id. at 929

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(“Generally, the considerations that support a strict approach to waiver in the attorney-client

context would appear to apply as well in the marital context: while both privileges serve to promote

important public interests by encouraging full and frank communications within special

relationships, they must be narrowly construed because of their adverse effect on the full disclosure

of truth.”) (internal quotation marks and citations omitted).

       “The burden is on the proponent of [a] privilege to demonstrate that it applies.” Federal

Trade Commission v. Boehringer Ingelheim Pharmaceuticals, Inc., 892 F.3d 1264, 1267 (D.C.

Cir. 2018); United States v. Acker, 52 F.3d 509, 514-15 (4th Cir. 1995) (“The party asserting an

evidentiary privilege, such as the marital communications privilege, bears the burden of

establishing all of the essential elements involved.”) (quoting United States v. White, 950 F.2d 426,

430 (7th Cir. 1991)).

II.    THE MESSAGES WERE NOT PRIVILEGED

       The messages from Kelly Meggs were not privileged, because the presence of his son on

the text message thread indicated that he did not have an expectation of privacy to make a protected

spousal communication to his wife. “The presence of a third party negatives the presumption of

privacy.” Perreira v. United States, 347 U.S. 1, 6 (1954). Almost 100 years ago, the Supreme

Court succinctly explained that communications between spouses in the presence of others are not

protected by the common-law marital privilege:

               Communications between the spouses, privately made, are generally
               assumed to have been intended to be confidential, and hence they are
               privileged; but wherever a communication, because of its nature or the
               circumstances under which it was made, was obviously not intended to be
               confidential it is not a privileged communication. And, when made in the
               presence of a third party, such communications are usually regarded as not
               privileged because not made in confidence.


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Wolfle v. United States, 291 U.S. 7, 14 (1934) (citations omitted). “Although ‘communications’

between spouses are presumed to be confidential, this presumption is rebutted when the

communicant knew that the information was or would be disclosed to third parties or to the public.”

In re Witness Before the Grand Jury, 791 F.2d 234, 239 (2d Cir. 1986) citation omitted).

       Simply, the fact that a spouse believed his communication would be read by persons other

than his wife means that the communication was not a privileged marital communication. See

United States v. Etkin, No. 07-CR-913, 2008 WL 482281 (S.D.N.Y. Feb. 20, 2008) (defendant not

permitted to claim marital communications privilege for emails sent on employer’s computer

where flash screen warning notified users that they had no expectation of privacy when using

computers).

       Here, Kelly Meggs knew or should have known that his adult son would have access to the

text messages in question. Indeed, his adult son had been texting with both of his parents on the

same thread just before and after Kelly Meggs sent the messages. And the use of the plural guys

in Zack Meggs’s 8:12 PM EST message (“You guys are so behind”) indicates that he was

addressing both of his parents when he sent his message, which is further evidence that all three

were on the same text thread.

       Kelly Meggs’ messages about wanting to kill Speaker Pelosi were not sent “in confidence”

of his marriage, and thus they are not privileged.

III.   ANY PRIVILEGE IS VOIDED BY THE CRIME-FRAUD EXCEPTION

       Even if the messages were initially privileged, they fall within an exception to the privilege,

namely the crime-fraud exception. See United States v. Ammar, 714 F.2d 238, 257 (3d Cir. 1983)

(relying on the principles of the crime-fraud exception to the attorney-client privilege, holding that


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communications between spouses pertaining to ongoing or future criminal activity not protected

by marital communications privilege); see also United States v. Estes, 793 F.2d 465, 466 (2d Cir.

1986) (“[C]onfidential marital communications concerning ongoing criminal activity are not

protected by the privilege.”).2

       Kelly and Connie Meggs were co-conspirators in conspiracies to obstruct Congress’s

official proceeding and to prevent officers of the United States (i.e., members of Congress) from

discharging their duties.     At the time, Nancy Pelosi was the Speaker of the House of

Representatives and one of the most prominent Democratic members of Congress. From this

message thread—and other evidence the government intends to introduce at trial—it is apparent

that Kelly Meggs wanted the Republican nominee for president, President Trump, to prevail in the

election over the Democratic nominee and for President Trump to remain in office.

       The focus of the “joint criminal participation” exception to the marital communications

privilege is actual participation in the criminal activity; it does not matter if only one spouse, in

fact, was prosecuted for the criminal activity. United States v. Hill, 967 F.2d 902, 912 (3d Cir.

1992); see also United States v. Parker, 834 F.2d 408, 413 (4th Cir. 1987) (“[J]oint participation

exception to the confidential marital communication privilege extends to statements made in the

course of successfully formulating and commencing joint criminal activity.”); United States v.

Neal, 743 F.2d 1141, 1446 (10th Cir. 1984) (“[M]arital communications having to do with the



2
  The defendants note that there is a circuit split on whether to recognize a joint-participation
exception to the adverse spousal testimonial privilege. Mot. at 7. But that has no impact on the
apparently universal recognition of a joint-participation exception to the marital communications
privilege. Indeed, in United States v. Tejeda, No. 15-CR-215-01/02-JL, 2017 WL 3396527, at *3
(D.N.H. Aug. 8, 2017), on which the defendants rely in the motion, the court specifically noted
the distinction in the exception between the two types of privileges.
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commission of crime and not with the privacy of the marriage itself, do not fall within the

privilege’s protection.”). As the Second Circuit explained after the Supreme Court’s decision

in Trammel, “[a] person desiring to enlist the aid of his spouse as an accomplice cannot now be

sure that he is not creating another potential witness; he takes the risk that the spouse may choose

to testify.” In re Grand Jury Subpoena, 755 F.2d 1022, 1026 (2d Cir. 1985), vacated and

remanded as moot, 475 U.S. 133 (1986); see also United States v. Van Drunen, 501 F.2d 1393,

1397 (7th Cir. 1974) (noting that the public interest in preserving the family “does not justify

assuring a criminal that he can enlist the aid of his spouse in a criminal enterprise”).

         The government intends to present evidence at trial that as early as election night 2020,

Kelly Meggs formed the intent to do whatever was necessary to prevent Joe Biden from assuming

the presidency. Kelly Meggs intended to stop Congress’s certification of the Electoral College

vote, and that as part of that scheme, he specifically targeted Speaker Pelosi. Connie Meggs shared

his intent. They traveled together from Florida to DC, stopping to deposit firearms at the Quick

Reaction Force hotel in Arlington. They entered the Capitol together. And they spent most of

their time inside the Capitol with each other, in the area just outside of Speaker Pelosi’s office.

Finally, on the evening of January 6, Kelly Meggs had the following text message exchange with

another man affiliated with the Oath Keepers:

            Meggs:      We busted in.

            Other man: Was hoping to see Nancy’s head rolling down the front steps.

            Meggs:      We looked forward3 her.




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    This was likely a typographical error with Meggs meaning to write, “We looked for her.”
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       Therefore, even if the messages were privileged, the privilege is voided by the crime-fraud

exception.

IV.    THE MESSAGES SHOULD NOT BE EXCLUDED UNDER RULE 403

       The defendants argue that Kelly Meggs’ messages should be excluded because they are

“more prejudicial than probative,” citing to Federal Rule of Evidence 403. Mot. at 10. But that is

not the standard under Rule 403. Rather, under Rule 401, relevant evidence is presumptive

admissible, and it is excluded under Rule 403 only “if its probative value is substantially

outweighed by a danger of . . . unfair prejudice.” Fed. R. Evid. 403. All evidence tending to show

a defendant’s guilt is “prejudicial.” See Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613, 618 (5th

Cir. 1977) (“‘[U]nfair prejudice’ as used in Rule 403 is not to be equated with testimony simply

adverse to the opposing party. Virtually all evidence is prejudicial or it isn’t material. The

prejudice must be ‘unfair.’”). Unfair prejudice means “an undue tendency to suggest decision on

an improper basis.” Fed. R. Evid. 403, Advisory Committee’s Note. The evidence should be

excluded only if it is unfairly prejudicial, and only then if its probative value is substantially

outweighed by that prejudice.

       Here, there is no danger of unfair prejudice. On election night 2020, when he thought that

President Trump was going to lose the election, Kelly Meggs clearly expressed his intent to his

wife and child that he was so displeased that he wanted to kill Speaker Pelosi. Just two months

later, with an arsenal across the river and 13 co-conspirators at his side, he breached the Capitol

building and made his way to the area outside of Speaker Pelosi’s office. His statements are

probative of his intent. And they are not unfairly prejudicial.




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       For similar reasons, the exchange between Kelly and Connie Meggs is probative of Connie

Meggs’ intent. These messages reflect her intense dismay at the prospect of President Trump

losing the election. Just a week after election day, Connie Meggs submitted her application to join

the Oath Keepers, and on January 6, 2021, she followed Kelly Meggs into the Capitol, through the

Rotunda, and towards the House side of the building. Late on the night of January 6, 2021, Connie

Meggs sent a text message to her friend describing the events of the day: “Antifa went up there

dressed as trumpers but trumpets heard about mike pence being a faggot and everyone went to the

capital to stop the vote and police.” These messages from election night provide important context

to the message from the night of January 6 and her conduct earlier that day. For these reasons,

these messages are also probative to the question of Connie Meggs’ intent and are not unfairly

prejudicial.

                                       CONCLUSION

       The government respectfully submits that the messages should not be excluded.

                                             Respectfully submitted,

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